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                  Exhibit B
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                            IN THE UNITED STATES DISTRICT COURT

                            FOR THE WESTERN DISTRICT OF TEXAS

                                        WACO DIVISION




 JANE DOE 1, et al,                           §   Civil Action No. 6:16-CV-00173-RP

                                              §

          Plaintiffs,                         §   Consolidated with

                                              §   6:17-CV-228-RP

 v.                                           §   6:17-CV-236-RP

                                              §

 BAYLOR UNIVERSITY,                           §

                                              §

          Defendant.                          §




                              DECLARATION OF TODD RANTA




      1. My name is Todd Ranta, and I am a Partner at PricewaterhouseCoopers Advisory
         Services LLC (“PwC”). I am over 18 years of age, of sound mind, and I am competent to
         testify to the matters stated in this declaration based upon my personal knowledge.



      2. I have over 20 years of experience in the areas of computer forensics, electronic
         discovery and data analysis. I have provided information technology consulting services
         to U.S. and international based clients on various projects including: corporate
         investigations, litigation, and large-scale data analysis.




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   3. In 2017 and 2019, PwC was engaged by Thompson & Horton LLP and Weisbart Springer
      Hayes LLP, respectively, to provide e-discovery services in the above captioned matters.
      The PwC services include collecting data from personal computers, email, and mobile
      devices, hosting files in a managed document review platform (“Baylor’s Production
      Database”), processing, searching, and producing data in a usable form. Thompson &
      Horton and Weisbart Springer Hayes utilize the Baylor Production Database to review
      and identify documents for production pursuant to the Court’s orders and ESI protocol.



   4. Per the Court’s order dated February 21, 2023, we understand that the Court has required
      the entire Pepper Hamilton universe be produced to Plaintiffs. At the direction of counsel,
      PwC identified this Pepper Hamilton universe in our possession which includes any
      document with "PH" or "PH2" bates that has been previously produced or logged.
      Previously redacted text and withheld documents have been restored to the production;
      that is, the previously redacted or withheld documents have been prepared for a new
      production without redaction. No confidentiality branding was applied to the new
      production. The following Pepper Hamilton universe productions were delivered to
      Thompson & Horton:




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       The Pepper Hamilton universe production bates range (number of pages) may vary from
previously produced (or logged) bates ranges due to the following circumstances:

                  i.   Previous productions included multi-page imaged documents. For many of
                       these documents (primarily redacted excel spreadsheets and powerpoint
                       presentations), we inserted a single, bates-numbered slipsheet in the
                       production and then delivered the affiliated native file, thus lowering the
                       bates counts for that set. Native files did not carry a bates number.
                 ii.   The previous productions included single-page slipsheeted documents
                       when there were privilege withholds or potentially unprocessable files.
                       Since these documents were produced in the new production with full
                       images, this may increase the bates counts for these documents.
                iii.   The re-imaging of a document changed the total image count of that
                       document.



       Total documents produced under this Court order is 1,326,747.



   5. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
      and correct.




                                                            ___________________________

                                                            Todd Ranta



                                                            March 30, 2023
                                                            ___________________________

                                                            Date




Declaration of Todd Ranta                                                                 Page 4
